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                               CERTIFICATE OF SERVICE


          I, WILLIAM L. SHIPLEY, JR., hereby certify that I electronically filed

DEFENDANT’S MOTION FOR MODIFICATION OF TERMS AND

CONDITIONS OF PRETRIAL RELEASE with the United States District Court for the

District of Columbia by using the CM/ECF system on June 13, 2022, and served the following

Counsel on behalf of the Plaintiff UNITED STATES via CM/ECF case filing system:

Mike Gordon
DOJ-USAO
400 N. Tampa St., Suite 3200
Tampa, FL 33602
813-274-6370
Email: Michael.Gordon3@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney



DATED: June 13, 2022, at Kailua, Hawaii.
                                                   /s/ William L. Shipley
                                                   William L. Shipley
